      Case: 3:20-cv-50083 Document #: 23 Filed: 08/19/20 Page 1 of 4 PageID #:236




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                    Western Division


TRUE VALUE COMPANY, L.L.C. and                                 Case No.: 3:20−cv−50083
T V COOPERATIVE COMPANY,                                       Honorable Philip G. Reinhard

         Plaintiff,

vs.

INTERNATIONAL HARDWARE SUPPLIES, LLC
d/b/a TRUE VALUE OF BROWARD and
JOSE ZAMBRANO,

      Defendants.
______________________________________/

                DEFENDANTS’ AMENDED JURISDICTIONAL STATEMENT

         Defendants INTERNATIONAL HARDWARE SUPPLIES, LLC and JOSE ZAMBRANO

hereby file their Amended Jurisdictional Statement as per this Court’s Order entered on July 14,

2020 (ECF No. 22).

         Defendants served Plaintiffs with the following discovery requests on July 13, 2020

regarding the citizenship of the Plaintiff entities for diversity jurisdiction purposes.

      1. Defendants' First Set of Interrogatories to True Value Company L.L.C.

      2. Defendants' First Request for Admissions to True Value Company L.L.C.

      3. Defendants' First Set of Request for Production to True Value Company L.L.C.

      4. Defendants' First Set of Request for Production to TV Cooperative Company.

         Based on the undisputed facts of Plaintiffs’ discovery responses, Defendants hereby allege

the citizenship of the two Plaintiffs, True Value Company L.L.C. and TV Cooperative Company.
    Case: 3:20-cv-50083 Document #: 23 Filed: 08/19/20 Page 2 of 4 PageID #:237




TV Cooperative Company

       Plaintiff TV Cooperative Company has its principal place of business in Illinois. TV

Cooperative Company has its executive headquarters in Chicago. TV Cooperative Company is

incorporated in the state of Delaware. Deborah O’Connor is its President and Treasurer. “For

diversity purposes, a corporation is a citizen of both the state where it is incorporated and the state

where it has its principal place of business.” MacGinnitie v. Hobbs Group, LLC, 420 F.3d 1234,

1239 (11th Cir. 2005). Therefore, Plaintiff TV Cooperative Company is a citizen of Delaware

and Illinois.



True Value Company, L.L.C.

       True Value Company, L.L.C.’s principal place of business located at 8600 West Bryn

Mawr Avenue, Chicago, IL 60631, and Chris Kempa is its Chief Executive Officer.

       The sole member of True Value Company, L.L.C. is T.V. Holdco II, L.L.C., a limited

liability company organized under the laws of the state of Delaware.

       The sole member of TV Holdco II, L.L.C. is TV Holdco I, L.L.C. a limited liability

company organized under the laws of the state of Delaware with a principal place of business

located at 8600 West Bryn Mawr Avenue, Chicago, IL 60631.

       The sole member of TV Holdco I, L.L.C. is TV Holdco, L.L.C., a limited liability company

organized under the laws of the state of Delaware with a principal place of business located at

8600 West Bryn Mawr Avenue, Chicago, IL 60631.

       The members of TV Holdco, L.L.C. are ACON TV Investors, L.L.C.; TV Cooperative

Company; and John Hartmann who resides in Illinois according to Plaintiffs’ responses to

interrogatories. Plaintiff states that it has no control over ACON TV Investors, L.L.C. and lacks
     Case: 3:20-cv-50083 Document #: 23 Filed: 08/19/20 Page 3 of 4 PageID #:238




information regarding its members. However, regardless of the unknown identities of ACON TV

Investors, L.L.C.’s members, alienage jurisdiction is constitutionally permissible as long as there

is at least one alien party and at least one state or citizen of a state opposing the alien. Arai v.

Tachibana, 778 F. Supp. 1535, 1538 (D. Haw. 1991). It is permissible for other parties in the case

to   not    meet    the    jurisdictional    criteria.   Id.   The    Constitution   only   requires

minimal diversity for alienage jurisdiction. Verlinden B.V. v. Cent. Bank of Nig., 461 U.S. 480,

491, 103 S. Ct. 1962, 1970 (1983).

       In the instant case, the two defendants are both Venezuelan citizens, while the two

Plaintiffs are citizens of Delaware and Illinois, and possibly other states as well. Thus, regardless

of the unknown citizenships of ACON’s members, whether domestic or foreign, they would not

destroy diversity in this case in either scenario.

       Thus, this Court has jurisdiction pursuant to 28 U.S.C. § 1332(a) because the citizenship

of the Plaintiffs and the Defendants are constitutionally diverse, and the alleged amount in

controversy exceeds $75,000.00, exclusive of interest and costs.

Dated: August 19, 2020

                                                         Respectfully submitted,

                                                         /s/ Fred Viera

                                                         Fred Viera
                                                         Florida Bar No. 728535
                                                         (appearing pro hac vice)
                                                         E-mail: Fred@vierayague.com
                                                         VIERA | YAGUE, PLLC
                                                         PO Box 166010
                                                         Miami, FL 33116
                                                         Telephone: (305) 901-2782

                                                         Lead Counsel for Defendants,
                                                         INTERNATIONAL HARDWARE
    Case: 3:20-cv-50083 Document #: 23 Filed: 08/19/20 Page 4 of 4 PageID #:239




                                                    SUPPLIES, LLC d/b/a TRUE VALUE OF
                                                    BROWARD and JOSE ZAMBRANO


                                 CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that on August 20, 2020, we electronically filed the foregoing

with the Clerk of Court using the CM/ECF system. We also certify that a true and correct copy of

the foregoing was served by e-mail on this date on all counsel or parties of record on the Service

List below.

                                                    By: /s/ Fred Viera



                                        SERVICE LIST


Salvador Carranza, Esq.
Salvador.carranza@elevatenextlaw.com
ElevateNext Law
218 N. Jefferson Street, Suite 300
Chicago, IL 60661
Telephone: (312) 676-5460
Facsimile: (312) 676-5499

Attorneys for Plaintiffs



Brandi L. Chudoba, Esq.
eservice@fsclegal.com
Faulkner Spears & Chudoba, LLC
308 W. State Street
Rockford, IL 61101
Telephone: 815-963-8050
Facsimile: 815-963-8057

Local Attorneys for Defendants
